           Case 1:19-cr-10080-NMG Document 356 Filed 04/18/19 Page 1 of 3



                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS




 UNITED STATES OF AMERICA

     vs.                                                     Case No. 1:19-CR-10080-NMG
 DAVID SIDOO, et al.,

           Defendants.


        ASSENTED-TO MOTION TO TRAVEL WITHIN THE UNITED STATES

       At the suggestion of Pretrial Services, Defendant Elisabeth Kimmel moves and respectfully

requests that the Court permit her to travel within the United States and to spend time between her

primary residence in Nevada and her house in San Diego. Mrs. Kimmel is currently under the

direct supervision of Pretrial Services in Nevada and is also being monitored by the Boston Office.

The Court’s Order Setting Conditions of Release requires Mrs. Kimmel and all defendants to

provide sufficient notice to Pretrial Services before any domestic travel. Mrs. Kimmel has

discussed her travel plans with the Nevada Pretrial Services office and her counsel has discussed

them with the Boston office. Neither office objects to her travel but requested that Mrs. Kimmel

file this motion to notify the Court of her plans and the fact that she intends to spend several months

away from her primary residence in Nevada. Pretrial Services does not anticipate any issues with

her being supervised in California and does not object to her request or this motion. The

Government assents to this motion.

       Ms. Kimmel therefore respectfully requests the Court allow her to travel within the United

States according to the Order setting her conditions of release and with the agreement of Pretrial

Services.

                                                  1
       Case 1:19-cr-10080-NMG Document 356 Filed 04/18/19 Page 2 of 3




Dated: April 18, 2019              Respectfully submitted,

                                   ELISABETH KIMMEL,

                                   By her attorneys,

                                   /s/ Eóin P. Beirne
                                   R. Robert Popeo (BBO # 403360)
                                   Mark E. Robinson (BBO # 423080)
                                   Eóin P. Beirne (BBO # 660885)
                                   MINTZ, LEVIN, COHN, FERRIS, GLOVSKY AND
                                   POPEO, P.C.
                                   One Financial Center
                                   Boston, MA 02111
                                   (617) 348-1707 (telephone)
                                   (617) 542-2241 (fax)
                                   rpopeo@mintz.com
                                   mrobinson@mintz.com
                                   ebeirne@mintz.com




                                     2
        Case 1:19-cr-10080-NMG Document 356 Filed 04/18/19 Page 3 of 3



                                 RULE 7.1 CERTIFICATION

        Pursuant to Rule 7.1, I hereby certify that I conferred with AUSA Eric Rosen and U.S.
Pretrial Services, who assent o this motion.

                                CERTIFICATE OF SERVICE

        I, Eóin P. Beirne, hereby certify that this document filed through the ECF system will be
sent electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF) and paper copies will be sent to those indicated as non-registered participants on April 18,
2019.

                                                             /s/Eóin P. Beirne




                                                 3
